Case 6:19-cv-00038-NKM Document 1 Filed 05/31/19 Page 1 of 33 Pageid#: 1
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                                                                   S OFFICE U.S.DIST.COURT
                                                                     AT RCm NOKE,VA
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                 IN TH E UN ITED STATES DISTRICT C OU RT
                FO R TH E W ESTERN DISTRICT O F W R GINIA             JULIA C UDLEM LERK
                                                                  BY; O
                                                                      yyjm oqs
U NITED STA TES,and

COM M ON W EALTH OF VIRGN A

cx rel.

(UNDER SEAL)                                                  .
Plainti
      ffs,                           CivilActionNo.:(o
                                                    .
                                                        .
                                                         -
                                                             j7. ..          zg
     vs.                             FILED U NDER SEAL        ê
                                     PURSUANTTO 31U.S.C.j3730
(UNDER SEAL)                         (FalseClaimsAct)
D efendant.                          D O NO T EN TER IN PA CER
                                     D O N OT PLA CE IN PRESS BOX




                           FILED UN DER SEM ,
Case 6:19-cv-00038-NKM Document 1 Filed 05/31/19 Page 2 of 33 Pageid#: 2




                     IN TIIE UN ITED STATES DISTR ICT COU RT
                    FO R TH E W ESTER N DISTRICT O F VIRG INIA

U NITED STA TES,and

 COM M ON W EA LTH OF W RGN A

ex rel.John PaulN eblett
       3035 Sedgew ick D rive
       Lynchburg,V irginia 24503-3333
                                                                     '
Plai
   ntiffs,                                       CivilActionNo.:Y ïqck/oto 'W
                                                 FILED UN DER SEA L
                                                 PURSUANT TO 31U.S.C.93730
 CentraHealthlnc.                                (FalseClaimsAct)
1937 Thom son Drive
Lynchburg,VA 24501                               DO N OT ENTER IN PACER
                                                 DO N OT PLA CE IN PQESS BO X

D efendant.




                      C OU LM NT A ND JURY TRIM ,DEM AN D

              ThisisacivilactionbyPlaintiff-RelatorJolm PaulNeblett(Etllwelator''or
$(Neb1et1''),byandthroughundersignedcounsel,whotslesthisComplaintonbehalfofhimself,
the United States ofAm erica,and the Com m onw ealth ofV irginia,againstDefendantCentra

Hea1thlnc.(çcentra''orçr efendanf')fordamagesandcivilpenaltiesarisingoutofthe
Defendants'collectiveviolationsoftheFalseClaimsAct,31U.S.C.jj3729-3733,asamended,
Pub.L.99-562,100Stat.3153(1986)andtherelevantstatutesinthevariousstates.
              D efendantcom m itsatleasttwo types offraud.
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       3.     First,Defendantknow ingly falsifiesprovidereligibility docum entation required

by govenlm entprogram s,including M edicare,M edicaid,Tricare and otherfederally and state

fundedhealthcareprograms(sGovenzmentPrograms'').
       4.     G overnm entProgram srequirethata1lprovidersgivetheiroriginalsignature to

certificationsand agreem entsestablishing theireligibility to participate in and billGovem m ent

Program s.These provideragreem entssetthe foundation fora provider'sparticipation and are

m aterialto aprovider'srightto billand collectpaym entfrom Governm entProgram s.

              D efendant,asdescribed below,usesa cut-and-paste m ethod to fraudulently

im pressprovidersignatureson provider agreem ents,t'
                                                   urning these criticaldocum entsinto art

projects.
       6.      Since providersdo notacm ally sign theprovideragreem ents,they are ineligible

to billto Governm entProgram sfrom the outset,and therefore,evel'y billto a G overnm ent

Program flow ing from these forged provideragreem entsisde facto a false claim forpaym ent,

regardless ofwhetherthe servicesw ere actually perform ed and/orregardless ofwhetherthe

servicesperform ed were m edically necessary.

               Second,Defendantknow ingly w ithholdsand failsto self-disclose identified

overpaymentstothegovemmentwithinsixty(60)days,asmandatedbyfederalstatm eand
agency rulesand regulationsapplicableto health care providersthatreceive funding from

G overnm entProgram s.

        8.     Defendanthasreceived overpaym ents stem m ing from thousandsofclaim s dating

back to atleast2014 and continuing untilthe present,totaling potentially m illionsofdollarsor

m ore in unreturned paym entsow ed to G overnm entProgram s.

        9.     Reiatorm ade repeated effortsto stop the above fraudsfrom taking place.
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       10.     Defendantadm itted thatitforgessignatures,butclaim ed çsno harm no foul''and

stated itw ould correcttheforgeries.

               Yet,Defendantinreality didnothing,andtothisday Defendantforgessignatures

on provider agreem entsroutinely.

               Defendantknow softhe overpaym entsbuthas done nothîng to return them .

               D efendantinitially thanked R elatorfordisclosing the illegalconductdescribed

herein.H ow ever,soon thereafter,D efendantdeem ed Relatora Ssproblem ''and terminated him ,in

retaliation forhiswhistleblow ing.

                               JUR ISDICTION A ND VEN UE

       14. ThisisanactionbroughtpursuanttotheFalseClaimsAct,31U.S.C.jj3729,et
seq.,andsubjectmatterjurisdictionisinvokedpursuantto28U.S.C.j1331.Thiscasearises
from the w rongfulconductoftheD efendantsincidentto obtaining f'unds from the federal

governm ent.

       15. ThisCourthaspersonaljurisdictionovertheDefendantunder31U.S.C.j
3730(a),whichauthorizesnationwideserviceofprocessandbecausetheDefendanthasatleast
m inim um contactswith the United States.

       16. 31U.S.C.j3732/)provides:çWnyactionundersection3730maybebroughtin
anyjudicialdistrictinwhichtheDefendantor,inthecaseofmultipleDefendants,anyone
D efendant,can be found,resides,transactsbusiness,orin any proscribed by section 3927

occurred.''(b)VenueisproperintheCommonwealthofVirginiainthat,amongotherthings,
D efendantisincop orated in and regularly transactsbusinesswithin the Com m onw ea1th.

       17.     Relatorpre-disclosed the core factsand claim sto theU nited StatesAttorney's

Office fortheW estern D istrictofVirginia on M ay 6,2019.
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       18.      Aspartofthe credentialing leadership team atCentra,Relatorhas insider

knowledge ofthe inform ation contained herein and isan originalsource.The governm entwould

nothaveknown aboutthisfraud,itsdetails,and itsbreadth and scope,without1he personal

know ledge provided by the Relator.

                                  PM W IES AN D EN TITIES

RelatorJohn PaulN eblett

       19.      RelatorJolm PaulN eblettis aresidentofLynchburg,V irginia.

                Relatorworked in the credentialing departm entatCentrafrom July 27,2018until

hisretaliatory term ination on Febrtlary 28,2019.

       21.      Relatorholdsa series$d7''license. Relatorhasoverfifteen yearsofcredentialing

related experience,including overa dozen years in them edicalindustry.

       22.      Relatorbecam e aw are ofthe fraudsdescribed herein while serving in hisrole in

the credentialing departm ent.

       23.      Relatorm ade num erous effortsto correctthefraudsalleged herein,to no avail.

       24.      Relator continued to personally observethe ongoing fraud untilhisretaliatory

term ination.

DefendantCentra
       25.      D efendantCentra isa V irginia billion dollarnon-profk corporation w hich owns

and operatestwo Lynchburg acutecare hospitals,four long-term care facilities,one long-term

acute care hospital,a residentialpsychiatrictreatm entfacility forchildren and adolescents,12

specialty education facilities,outpatienttreatm entfacilities,a foundation,a m edicalinsurance

com pany,and an indem nity insurance com pany.
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       26.    In 2017,Centra'sfinancialrecordsshow ed itreceived m ore than a halfbillion

dollarsfrom M edicare andM edicaid.Itrecorded excessrevenueoverexpensesof$62.2 million
thatsam eyear.

       27.    ln 2018,Centrasetaside$7.8milliontocoverliability overpotentialviolationsof
the Stark and Anti-K ickback law s.These potentialviolationsarose asDefendantw asnegotiating

settlem entofotherpotentialviolations itvoluntarily disclosed to the D epartm entofJustice.

                                  LEG AL BACK GR OU ND

   a4. FalseCIJ/M ActPTFCW 5
       26.The FCA provides in,pertinentpart,thatany person who:

              (a)(1)(A)knowinglypresents,orcausestobepresented,afalseor
              Fraudulentclaim forpaym entorapproval;

              (a)(1)(B)knowinglymakes,uses,orcausestobemadeorused,a
              False record orstatem entm aterialto a false orfraudulentclaim ;

              (a)(1)(C)conspirestodefraudtheGovernmentbygettingafalseor
              Fraudulentclaim allow ed orpaid;or



               (a)(1)(G)knowinglymakes,uses,orcausestobemadeorused,a
              false record orstatem entm aterialto an obligation to pay or
              transm itm oney orproperty to the Governm ent,orknow ingly
              concealsorknow ingly and improperly avoidsordecreases an
              obligation to pay ortransm itm oney orproperty to the
              Govem m ent,orknowingly conceals orknow ingly and im properly
              avoids ordecreasesan obligation to pay ortransm itm oney or
              property to the Governm ent,



              isliabletotheUnitedStatesforanycivilpenalty,asadjustedby
              theFederalCivilPenaltiesInflationAdjustmentActof1990(28
              U.S.C.2461note;PublicLaw 104-401,(whichiscurrentlynotless
              than$10,957andnotmorethan$21,916)plus3timestheamount
               ofdam agesw hich the Governm entsustainsbecause ofthe actof
               thatperson.31U.S.C.53729.
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       27.    Forpup osesofthe False Claim sAct,theterm sççknow ing''and tdknow ingly''

meanthataperson,withrespecttoinformation:(i)hasactualknowledgeoftheinformation;(ii)
actsindeliberateignoranceofthetruthorfalsityoftheinformation;or(iii)actsinreckless
disregardofthetruthorfalsityoftheinfonuation;and(B)requirenoproofofspecificintentto
defraud.31U.S.C.53729(19.
       28.    The FCA defines a S'claim ''to include any requestordem and,whetherundera

contractorotherwise,form oney orproperty w hich ism ade to a contractor,grantee,orother

recipientifthe United StatesGovernm entprovidesany polion ofthe m oney orproperty which

is requested ordem anded,orifthe Governm entw illreim burse such contractor,grantee,orother

recipientforanyportionofthemoneyorpropertywhichisrequested.31U.S.C.j
3729(b)(2)(A)(i)-(ii).
       29.    The term S'm aterial''m eanshaving a naturaltendency to intluence,orbe capable

ofintluencing,thepaymentorreceiptofmoney orproperty.31U.S.C.j3729(b)(4).
              TheFCA containsan independentrequirem entto correcterrorsthatw illcause,or

have caused,a governm entoverpaym ent.The A ctattachesliability to anyone w ho know ingly

m akes,uses,orcausesto bem ade orused,a false statem entorrecord m aterialto an obligation to

pay ortransm itm oney to the governm ent,orwho know ingly concealsorknowingly and

improperly avoidsor decreases an obligation to pay ortransm itm oney to the governm ent.31

U.S.C.j3729(a)(1)(G).
              PursuanttotheFederalCivilPenaltiesInflationAdjustmentActof1990(28
U.S.C.j2461note;PublicLaw 104-410),theFCA civilpenaltieswereadjustedtonotlessthan
$10,957and notm orethan $21,916.
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   B.FederalandState-FupdedHealthCareProgram A'
                                              lkf&///y
                      The M edicare Program

       32.    M edicare is afederally-funded health insuranceprogram adm inistered through

CentersforM edicareandMedicaid($$CM S'').
              M edicareisdividedintofourmajorcomponents,al1ofwhicharerelevanttothis
action.PartA paysforskilled nursing facility stays,inpatienthospitalstays,hospice care,and

hom ehealth visits.Pal4 B coversphysician visits,outpatientservices,preventive services,and

hom ehealth visits.PartC,the M A program ,allowsbeneficiariesto enrollin aprivatehealth

organization,such asa HM O,and receive aIlM edicare benefits.PartD isthevoluntary,

subsidized outpatientprescription drug benefit.

       34.    To adm inisterthe M edicareprogram ,private insurance companies actasagentsof

the HH S,m aking paym entson behalfofprogram beneficiaries and providing other

administrativeservices.42U.S.C.jj139511and 1395u.Thesecompaniesarecalledtçcarriers.''
See42C.F.R.jj421.5(c).Throughlocalcarriers,M edicareestablishesandpublishesthecriteria
fordeterm ining w hatservicesare eligible forreim bursem entorcoverage.Thisinform ation is

available to providersw ho seek M edicare reim bursem ent.

       35.    M edicarereim burseshealth care providersforthe costsofproviding covered

healthservicestoMedicarebeneficiaries.See42U.S.C.5l395x(v)(l)(A).
       36.    To billM edicarePartA ,a providerm ustsubm itan electronicorhard-copy claim

fol'
   m calledtheUB-04(alsolcnownastheCM S 1450)totheappropriateM edicarecarrier.To
billM edicarePartB,aproviderm ustsubm itan electronic orhard-copy claim form called the

CM S 1500 to the appropriateM edicare carriers.These form sdescribe,am ong otherthings,the
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provider,thepatient,therefeningphysician,theservicests)providedbyprocedurecode,the
relateddiagnosiscodets),thedatesofservice,andtheamountcharged.
       37.     In addition,each M edicare providerm ustsign aprovideragreem entand by so

doing m ustagree to com ply with a1lM edicarerequirem ents including the fraud and abuse

provisions.A providerwho failsto com ply with these statutes and regulationsisnotentitled to

paym entforservicesrendered to M edicarepatients.

       38.     The provideragreem entm ustbe originally signed and cannotbe forgeries,fakes,

copiesorcut-and-pastesignatures.42CFR j489.11.
       39.     Atal1tim esrelevantto thisaction,the Govem m entProgram sreview ed and

approved any one ofthe claim satissue in this case based theirreview upon the provider

agreem ents,enrollm entinfonuation and claim inform ation provided by the D efendantsand

relied on the veracity ofthatinform ation in determ ining whetherto pay the claim ssubm itted by

D efendants.

       40.     A s aprerequisite to paym ent,M edicare also requiresprovidersto subm itannually

aForm CM 5-2552-10(previouslyform HCFA-2552),morecommonlylcnownastheHospital
CostReport.Costreportsare the finalclaim thataprovidersubm itsto the fiscalinterm ediary for

item s and servicesrendered to M edicare beneficiaries.

               Every H ospitalCostReportcontainsa <scertification''thatm ustbe signed by the

chiefadm inistratoroftheproviderorresponsible designee ofthe adm inistrator.Through this

certitication,theproviderconfirm sthatthe costreportis$$atrue,correct,and complete

statement''andthattheservicesidentified(Ewereprovidedincompliancewith(thelawsand
regulationsregardingtheprovisionofthehealthcareservicesj.''



                                                8
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                 ii.    TheM edicaid Program

       42.       M edicaid isa public assistance program providing forpaym entofm edical

expensesforlow -incom e and disabled patients.Funding forM edicaid is shared between the

federalgovernm entand those statesparticipating in theprogram .

                 Federalregulationsrequire each stateto designate a single state agency

responsible forthe M edicaid program .The agency m ustcreate and implem enta Etplan for

m edicalassistance''thatis consistentw ith TitleX IX and w ith the regulationsofthe Secretary of

H H S.Although M edicaid isadm inistered on a state-by-state basis,the state program sadhereto

federalguidelines.Federalstatutesand regulationsrestrictthe item sand servicesforwhich the

federalgovernm entw illpay through itsfunding ofstate M edicaid program .

       44.       Each providerthatparticipates in the M edicaid program m ustsign a provider

agreem entwith his orherstate,certifying thatthey willcomply w ith M edicaid rules and

requirem ents.

       45.       Theprovideragreem entmustbe originally signed and cannotbe forgeries,fakes,

copiesorcut-and-pastesignatures.42CFR j489.11.
       46.       Centraparticipatesin the Virginia Prem ierM edicaid Program .

    C. The 60m av Overnavm entR ule

                 Overpaym entsunderthe statm e are defined aspaym entsreceived in excessof

am ountsproperly payable underM edicare and M edicaid statutesand regulations.Overpaym ent

can occurdue to a variety ofreasons,including fraud,m istake and negligence.M ost

overpaym entscom m only occurw hen thereisinsuffcientdocum entation;m edicalnecessity

errors;duplicate paym ents;upcoding;and/oradm inistrative and processing errors.




                                                 9
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       48.    An identitied overpaym entisa debtow ed to the governm ent.Thus,the federal

stam te requires health care providersto recoveral1identified overpaym entsby reporting and

remrningovepaymentswithinsixty(60)daysafterthedateonwhichtheoverpaymentis
identified.TheAffordableCareAct(:W CA'')provides,inpertinentpart:
              SEC .1128J.G D ICARE AND M ED ICM D PRO GM M IN TEG R ITY
              PR OW SION S

              (d)REPORTING Ar RETURNING 0FOVERPAYO NTS-
              (1)(N GENERAL -Ifapersonhasreceivedanoverpayment,the
              person shall-
                     (A)reportandretum theoverpaymenttotheSecretary,the
                     State,an intennediary,a carrier,orcontractorto w hom the
                     overpaym entwasreturned in writing ofthe reason forthe
                     overpaym ent.
                     (B)notifytheSecretary,State,intermediary,carrier,or
                     contractorto whom the overpaym entw as returned in
                     writing ofthe reason forthe overpaym ent.

              (2)DEADLINE FOR REPORTING AND RETURNW G
              OV ERPA YM EN TS - A n overpaym entm ustbe reported and
              remrnedunderparagraph(1)bythelaterof-
                    (A)thedatewhichis60daysafterthedateonwhichthe
                     overpaym entw as identified;or
                      (B)thedateanycorrespondingcostreportisdue,if
                      applicable.

              (3)ENFORCEMENT-Anyoverpaymentretainedbyaperson
              afterthe deadline forreportm g and rettlrning the overpaym ent
              underparagraph (2)isanobligation(asdefnedinsection
              3729(1$(3)oftitle31,UnitedStatesCode)forpurposesofsection
              3729 ofsuch title.

              (4)DEFINITIONS-Inthissubsection:
                    (A)KNOW ING AND KNOW INGLY -Theterms
                      (tknow ing''and tEknow ingly''have the m eaning given those
                     termsinsection3729(19oftitle31,UnitedStatesCode.
                     (B)OVERPAYM ENT -Thetenu 'Eoverpayment''means
                      any fundsthata person receives orretainsundertitle XV III
                      orX 1X to which theperson,afterapplicable reconciliation,
                      isnotentitled undersuch title.


                                               10
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See Pub.L.111-148.ACA w asam ended by the H ea1th CareEducation Reconciliation A ctof
2010(Pub.L.111-152).
       49.     ln practice,should providers identify an overpaym ent,w hich can date back to six

(6)yearsofthedatetheoverpaymentfortheclaim wasreceived,alsoreferredtoasthe(tlook
b'
 ack period,''the provideris required to prom ptly reportand return the overpaym entto the

governmentasoutlinedaboveinSection 1128J(d)oftheSocialSecurityAct.
       50.     UnderM edicarePartA and B,to reportand return overpaym ents,providersare

instructed to use existing processes.Specifcally,therule states thatproviders and suppliersm ust

useanapplicableclaimsadjustment,creditbalance,self-reportedrefundprocess,orother
appropriateprocessto reportand return M edicare PartsA and B overpaym ents.

       51.     Regardlessoftheprocessused,the refund should include an explanation ofthe

statisticalsam pling m ethodology used ifan overpaym entwascalculated by extrapolation.

       52.     In addition to the federalstam te,on February 12,2016,CM S published the 60-

DayOverpaymentRule(effectiveM arch14,2016)implementingSection 6402($ oftheACA,
to provide clarity to the 2010 legislative provision requiring providersto reportand return

overpaymentswithinthespecifctimeline.42C.F.R.j401,405(2016).
               The60-DayOverpaymentRule,whichimplementsSection 1l28J(d)oftheSocial
SecurityAct(édtheAct'')>entitledddReportingandReturningofOvepayments,''requiresfederal
overpaymentsforhealthcareservicestobereportedandretunzedbythelaterof:(1)sixty(60)
daysafteridentifyingtheoverpaymentor(2)thedateanycorrespondingcostreportisdue,if
applicable.Section 1l28J(d)oftheSocialSecurityAct,codifiedat42U.S.C.j 1320a-7k(d).
               Specifically,the 60-D ay Overpaym entRule requiresthatany (toverpaym ent''

m ustbe returned w ithin 60 days ofbeing ttidentified.''An overpaym entisidentiied tçw hen the

person hasorshould have,through exercise ofreasonable diligence,determ ined thatthe person
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hasreceivedanoverpaymentandquantifiedtheamountoftheovemayment.''42C.F.R.j
401,405(2016).
       55.     The standard forthe identification ofan overpaym entrelies upon providers

exercising Sçreasonable diligence.''CM S describesthe standard to include proactive com pliance

activities conducted in good faith by qualitied individualsto m onitorforthe receiptof

ovem aym ents and investigationsconducted in atim ely m annerby qualified individuals in

response to obtaining credible infonnation ofa potentialoverpaym ent.1d.

       56.     CM S describes 'çcredible infonuation''asincluding içinfonuation thatsupportsa

reasonablebeliefthan overpaym entm ay have been received.Id.

               The 60-day clock beginsto run when eithertheprovider'sproactive effortsto

investigate identified overpaym ents,conducted w ith reasonable diligence,or,on the day the

providerreceived credible inform ation ofapotentialoverpaym entifthe providerorsupplier

failed to conductreasonable diligence and received an overpaym ent.

       58.     Any overpaym entfailed to be reported to CM S and retained afterthe 60-day

deadline isa violation ofthe False Claim sA ct,also referred to as a T'reverse false claim .''42

U.S.C.j1320a-7k(d).Sincethe60-Day OverpaymentRule,providersarealsostrictlysubjectto
the six yearûûlookback period,''w hich appliesto overpaym entsforclaim sreceived before the 60-

DayOverpaymentRule'seffectivedate(M arch 14,2016),butaftertheACA'Senactment
(M arch23,2010).
       59.     An Ssobligation''underthe statute can be a certain,ascertainable am ountow ed,or

itcan be w hen a potentialoverpaym entis identified,buttheprecise am ountdue itnotyet

detennined.The Ssobligation''therefore,Starisesacrossthe spectrum ofpossibilitiesfrom the

fixed am ountdebtobligation w here a11particularsaredefined to the instance where there isa
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relationship between the Governm entand a person thatçresultsin a duty to pay the Governm ent

money,whetherornottheamountowedisyetfixed.'''S.Rep.No.111-10,at14(2009),
reprinted at2009 U .S.C.C.A .N .430,441.

       60.    In sum ,the federalstatutory provisionsand the CM S 60-D ay Overpaym entRule

areprovided to explicitly preventhealth care providersfrom sim ply ignoring evidence of

potentialoverpaym ents,triggered from im properclaim sbilling processes.Even absentthe 60-

DayOverpaymentRule,providershavebeensubjecttotheprovisionsunderSection1128J(d)of
the Act,since 2010.

                                 FA CTS AND ALLEG A TIO NS

Forzed Cut-And-pasteProviderSiznatures
          -




       61.    Since atleast2012 and continuing to the present,D efendantengagesin pervasive

and deliberate fraudulentpracticesby forging providersignatures on provideragreem entsused

by Governm entProgram sto detennine eligibility.

       62.    A tçW elcom e Packet''sentto providersby Centra tellsthem thatthe credentialing

departm entw illsubm itenrollm entapplicationsw ith participating payers.Itinstnlctsthem to

sign in blue ink and adds:$(...do notdate any ofthe form s asourpayers require the specific date

on which the application issubm itted.''

       63.    Centra includesup to nine copies ofthe Section 15 ofthe M edicare certitk ation

statem entwith this W elcom e Packetand asksthe doctorsto sign every one.M ostproviders

sim ply sign the form sand leavethe date blank.Few everask w hy there are so m any copies.

These signed form sthen are added to the file cabinets.




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       64.    These cabinetscontain thousandsofsigned and undated blank form s- som e for

doctorsw ho are no longerassociated w ith D efendant- arranged in folders,which Relator

learnedafterworkinginthefileroom duringhisfirstweeksonthejob.
       65.    In July 2018,credentialing specialistChristine W righttrained Relatorto cut

providersignatures from signed and undated CM S form sand paste them on M edicare,M edicaid,

Tricare and othergovernm entprogram enrollm entapplicationsand state-required paperw ork

showing thatdoctorswere supervising m id-levelproviderssuch asnurse practitioners.

       66.    Relator'sw ork kitincluded glue sticks,scotch tape and scissors.

       67. OnceRelatorwastinishedwithwhatW rightcalledthetçartsandcrafts''projects,
WrighttoldRelatortomaskthesharp edgesleftbyscissorsandextralinesvisibleinjurprigged
signature blocksby faxing the com pleted and Gssigned''form to insurers.

       68.    The raw m aterialforthese faked signatures isstored in a seriesofoverflowing fsle

cabinetshousing M edicare form ssigned,butnotdated,by practitioners.These bulging file

drawers contained up to nine signed copiesforindividualCentra providers.

       69.    W hen a signam re isneeded,credentialing staffpulla signed form from thefile

draw ers,cutoutthesignature and paste itonto the signature block,even though the applications

required an originalsignature.

       70.    TheM edicare certiûcation application,for example,says:çW l1signaturesm ustbe

originalandsignedinink(blueinkpreferred).Applicationswith signaturesdeemednotoriginal
w illnotbeprocessed.Stam ped,faked orcopied signaturesw illnotbe accepted.''

              Relatorpersonally observed m any thousandsoffaked orunsigned form sform any

hundredsofproviders.
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       72.     Forexam ple,there are 1l copiesofundated certitication fqrm ssigned by Dr.

Saha Pavela;5 copiesofundated certilcation form ssigned by D r.M itra Sahebazam ani;and,3

copies offol'
            m s signed by D r.K aneez Salbia.

              Thenum berofcopiesby doctordiffer,m ostlikely becausethe credentialing staff

destroy chopped-up copiesafterthecutting and pasting signatureblocks.

       74.     These so-called Csshortcuts''are ingrained in the training,the protocoland the

daily operation ofthecredentialing departm ent,w hich verifiesthe license inform ation for

providersworking in the non-hospitaloperationsofCentraand then enrollsthem in insurance

program s.

       75.     Relator'sw ork kitincluded glue sticks,Scotch tape and scissors.H isunitrequired

healthcare providersto sign m ultiple copies ofblank,undated certification form sw hich supplied

signaturesforthe cutand paste operation.Staffare trained to hide evidence ofscissorcuts by

faxing the com pleted form s.

       76.     The use ofthese cutand paste signatures isnotlim ited to M edicare enrollm ent

form s.These re-purposed signingsare affixed to enrollm entform sforM edicaid,Tricare and

w ide array offilingsthat,am ong otherthings,detailwhatphysician w ould be supervising the

w ork ofm id-levelproviderssuch asnursepractitioners.

    77.One exam ple ofa faked signature isthe follow ing:




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             78. A review ofthesignatureblock(above)showslinesatthesidesofLisaFeagan's
signature where itw as cutand pasted from a blank,signed and undated form by Christie W right,

the Centra stafferwho trained Relator.

             79.               ln the fallof2018,Josh Larkin,thepayercredentialing m anager,instructed

Relatorto send signaturesofanesthesiologiststo theBolderHealthcare Group,arevenue cycle

m anagem entfirm thatspecializesin im proving the financialperform ance ofhealthcare

providers.
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               80.             AtD efendant's direction,Relatorprovided viae-m ailatleasta half-dozen

signaturesto BolderH ealthcare.A 1lw ere cutfrom the existing blank fonus,including the

signatureofDawnKent,aCRNA (above).
               81.             A san anotherexample,below are im ageswhich com pare signaturesfrom the

credentialing documentssubm itted to insurersby Centra and the actualsignature ofsupervisor

SonyaD avis,the health care group'sdelegate officialauthorized to sign the applications.The

signature block says:%$A llsignaturesm ustbe originaland signed in blue ink.''




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       82.      Relatorbroughthisconcerns to hissupervisors,thehum an resources directorand

com pliance officer.On January 21,2019,he outlined them in detailto Jenny Keith,the director

ofcorporate com pliance forCentra Hea1th,in an em ail.

       83.      Two othercredentialing packagesprocessed and sentby Larkin - Relator's

im m ediate supervisor- were subm itted to com pliance asw ell.Relatorexplained thatthese

signaturesw eren'tcopied,asLarkin forged and falsiûed both ofthe signatures:




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       84.           A sadditionalevidence,Relatorprovided the hum an resourcesand compliance

departm entsw ith copiesoffaked signam reson the com pliancepacketofD r.K evin Bergeson

K night.Relatorprovided copies ofthe acm alsignature ofDr.Knightand the actualsignattlre of

Larkin.

       85.            Justan hourafterm aking his disclosures,Shannon M eadow s,the D irectorof

H um an Resources replied,thanking Relatorforhis candorand stating,$$W e are investigating this

thoroughly.''

       86.           N ine daysearlier,afteran internalinvestigation,K eith substantiated two of

Relator'sthree allegationsand continued to investigate athird.

       87.            The internalinvestigation by D efendant's cop orate com pliance concluded that

som e signam resw ere notcutand pasted.They w ere forged.Shew rote:ft-f'he second area of

concernyouhadwassurroundingthesignaturesontheMedicareEnrollmentForms(855i).The
ChiefCom pliance Officer and m yselfhave interviewed the appropriate individuals and

substantiated yourallegations.Please note thatM r.Larkin,noranyone else in the ofice,w illbe

signing on behalfofM s.Davis.Thispracticew illstop im m ediately.''

       88.            ds-l-he third area ofconcern you had w as surrounding thepractice ofcutting and

pasting providersignatureson variousform s.The ChiefCom pliance Officerand m yselfhave

interview ed the appropriate individualsand substantiated yourallegation.Please note thatthe

practice ofEcutting and pasting'signaturesw illstop im m ediately.''

                                                                    18
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       89.     H ow ever,Defendantdid notttstop im m ediately''and in fact,continuesthese

practicesto this day.

       90.     The above aresim ply examplesofaw idespread institutionalized fraud Centra has

been com m itting and continuesto com m itinto the presentday.

               Centra'srevenuefrom Govem m entProgram s exceedsa halfofa billion dollars

annually.

       92.     Every single claim forpaym entstem m ing from any forged/faked signed provider

agreem entisfalse.

       93.     Therefore,every paym entm ade from G overnm entProgram sto Centra for

servicesperformed(orbilledby)anyproviderwhosesignaturewasforged/faked(includingthe
providersnamedabove)shouldbereturnedtoGovernmentProgramsastheywereobtained
because Centra fraudulently induced the paym entsin the Grstplace.

       94.     Thus,dam agesto Governm entProgram sforCentra'sfaked/forged signature

fraud isin the hundredsofm illions and perhapsbillions ofdollars.

FailuretoReportand UnlawfulRetention ofJ'
                                        #ea/f/-
                                              ld# Overpavments

       95.     In Septem ber2018,Centra transferred its claim sm anagem entand billing

operationsfrom A thena Health to CernerCorporation,ahealth inform ation,electronic healthcare

record and revenue m anagem entCom pany.

       96.     A sthe transition from one inform ation system to anothercam e closer,Centra

pushed to reduce any outstanding balances.

       97.     Centra told Relatorand otherem ployees in hissection thatitw ascriticalto

reduce these balancesasCerner'sfee w ould be based,in part,on the am ountofthe balance

transferred.


                                              19
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              98.                Relatorreview ed Centra'saccountsasdirected and discovered thatoutstanding

balancesdating back to 2014weremorethan $7million.
              99.                By February 2019,the outstanding accountstotaled 33,178 claim sw ith a balance

ofmorethan $5.3m illion.
               100. Specifcally,unrem rned overpaym ents stillin Centra'saccounts from 2014-2018

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 M edicaid                                            $10.68                        1                                        2014
 M edicare                                            $195.98                       2                                        2014
 M edicaid                                            $1,400.66                     34                                       2015
 M edicare                                            $3,349.33                     57                                       2015

  ChampvA                                             $23.42                        1                                        2016
 M edicaid                                            $5,003.74                     89                                       2016

 M edicare                                            $4,438.85                     98                                       2016
 Tricare                                              $87.83                        1                                        2016
  ChampvA                                             $667.03                       12                                       2017
 M edicaid                                            $28,380.79                    558                                      2017

 M edicare                                            $94,313.43                    1232                                     2017
 Tricare                                              $4,406.02                     91                                       2017

  ChampvA                                             $73.82                        3                                        2018
  M edicaid                                           $30,512.08                    628                                      2018
  M edicare                                           $23,377.91                    1001                                     2018

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       101. These overchargesrepresent3.6percentofthe$5.3m illion in outstanding claims

from thedataRelatorreviewed,andthisisjustasampleofoutstandingclaims.
       102. Relatorassessed thatoverpaym entsstem back untilatleast2012,and continue

pasthistenuination to the prejent.Thus,the actualtotals ofa1loverpaym ents likely exceeds

m illions'ofdollars.

       103. Centra know softhese overpaym entsbecauseRelatorand otherem ployees

notified m anagem entofthe overpaym ents.

       104. N evertheless,Centra hasneverreported the overpaym entsto G overnm ent

Program s.

RetaliationAzainstRelatorand W ronzfulTerminatlon

       105. TheFalseClaimsAct,31U.S.C.j3730(h),prohibitsthedischarge,demotion,
suspension,threatening,harassm entorotherdiscrim ination againstan employeebecause ofany

lawfulactdone by the em ployee on behalfofthe em ployee orothers in furtheranceofan action

undertheFCA .

       106. AfterRelatorraised questions aboutthe unlawfulpractices described herein w ith

corporate com pliance directorK eith,hiscolleaguesbegan scanning files and m oving the

electronic copiesto a shared network drive.

       107. Relatorwasnotallowedtoparticipateintheproject.




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       108. Asthescanningprojectcontinued,andinanefforttoconcealDefendant'sfraud,
fewersigned and undated certification fileswere contained in the filing cabinets,which becam e

lessjam-packed.
       109. On January 29,2019,Relator's bossannounced çhangeswhich he claim ed would

ensurethepayercredentialing unitcom plied.

       110. The new practices- armounced by Larkin on January 29,2019 - raised additional

concernsforRelator.Thesepractices allow ed the credentialing unitto continue to collect

m ultiple,signed and undated copies ofM edicare certification form s.

       111. Ten dayslater,on February 6,2019,Relatortold compliance these practices

hadn'tstopped and faked signaturesstillw ere being used.

       112. Centra initially responded by thanking Relatorforhiscandorand pledging to

investigate.

               H ow ever,Relator'scandortranslated into a tense and strained relationship w ith

his bossand colleagues in the credentialing departm ent.

       114. On February 14,2019,aw eek afterCentraprom ised to thoroughly investigate,

Eddy Parham ofthehum an resourcesdepartm entreferred R elatorto a counseloraspartofthe

Centra'sEm ployee A ssistance W orkplace Consultation program .

               In the referral,Parham wrote:S'The compliance issuesw ere founded butthere was

no indication thatthere w asan intentto cause any hann and in factno harm wascaused.The

departm entw asunderpressure to com plete a large task and shortcutswere implem ented.''

               To addressthe ddstrained working relationship,''Centra ordered Relatorand his

two im m ediatebosses into am andatory counseling program .




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       117. TheFebruary 14,2019 referralfrom hllman resotlrcesread,in part:ççr
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strainedworkingrelationshipwhereJP ERelatorjreportedaconcern aboutpossiblecompliance
issueswithin the department.The complianceissuesw erefotmded buttherewasno indication

thatthere wasan intentto causeany hnrm and in factno harm wascaused.The departm entwas

tmderpresstlreto completealargetask and shortcutswereimplem ented.''

       118. TheçGstrained relationship''wasneverresolved. Instead,Relatorwasfired on

M arch 5,2019.

              CentraviolatedRelator'srightsptlrsuantto 31U.S.C.j373041$ byretaliating
againsthim forlaw fulacts done by him in furtherance ofeflbrtsto stop one orm ore violations

alleged in thisaction.Defendantknew ofRelator'sprotected activity ashehad reportedhis

findings to hissuperiors.

       120. AsaresultofDefendant'sactions,Relatorhassuffered dam agesin an nm otmtto

beshown attrial,includingbutnotlim ited to statutory dam ages,lossofpay,interest,attorney's

fees,frontpay,reinstatem ent,and makewhole damages.

                                         C O U NT 1
                                      False Claim sA ct
                                 31U.S.C.jj3729(a)(1)(A)
       121. Al1paragraphsofthisComplaintarerealleged and expressly adopted and

incorporated asiffully setforth herein.

       122. Thisisaclaim broughtby RelatorandtheUrlited Statesto recovertreble

dnm ages,civilpenalties and the fees and costoftllisaction,tm derthe False Claim s A ct,31

U.S.C.jj3729-3733,asamended,Pub.L.99-562,100Stat.3153(1986)(the&TCA''),arising
from theDefendant'sviolationsoftheFalseClaimsAct,31U.S.C.jj3729-3733etseq.
       TheFederalFalseClaimsAd,31U.S.C.j3729(a)(l)(A),providesthatanyperson
       who:(a)(1)(A)knowinglypresents,orcausestobepresented,afalseorfraudulent

                                              23
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       claim forpaym entorapproval...isliable to theU nited States Governm entfor
       any civilpenalty of...plus 3 tim esthe am ountofdam agesw hich the Govenzm ent
       sustainsbecause ofthe actofthatperson.

   31 U.S.C.j3729.
       123. Defendantknow ingly presented and/orcaused to bepresented false orfraudulent

claimsforpaym ent,both by subm itting claim sstemm ingfrom forgedprovideragreements,and

failing to identify and/orself-disclose identified overpaym entsto the governm entw ithin sixty

(60)days,asmandatedbyfederalstatuteandagencyrulesandregulationsapplicabletohealth
careprovidersthatreceive funding from M edicare and M edicaid program s.

       124. The United Statesw asunaw are ofthe fraud and fraudulentschem es detailed

herein and butforthis disclosure,w ould nothave discovered it,the m echanism sbeing used to

perpetrate and m ask the fraud,and thetruebreadth and scope ofthe fraud.

       125. The United Statesand the Governm entpayorswould nothave paid the claim s if

they had lcnow n the claim sw ere false because com pliance w ith M edicare and M edicaid is a

statutory condition ofpaym ent.

        126. A sa resultofthese false orfraudulentclaim s subm itted orcaused to be subm itted

by D efendant,the U nited StatesTreasury,through M edicare,M edicaid and otherfederalhealth

care program s'paym entsofthese claim s,has suffered dam age in an am ountto be determ ined at

trial,plusa civilpenalty perclaim by stam te foreach such false claim presented orcaused to be

presented by D efendant.




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                                              COUNT 2
                                           False Claim sA ct
                                     31 U.S.C.jj3729(a)(1)(B)
              Al1paragraphsofthisComplaintarereallegedand expressly adopted and '

incop orated asiffully setforth herein.

       128. Thisisaclaim broughtby Relatorand theUrlited Statesto recovertreble

dnm ages,civilpenaltiesand thefeesand costoftllisaction,undertheFalseClaim sAct,31

U.S.C.jj3729-3733,asnmended,Pub.L.99-562,100 Stat.3153(1986)(the1TCA''),arising
from theDefendant'sviolationsoftheFalseClaimsAct,31U.S.C.jj3729-3733etseq.
       129. TheFederalFalseClaimsAct,31U.S.C.j3729(a)(1)(B)providesthatanyperson
who:

              (a)(1)(B)knowinglymakes,uses,orcausestobemadeorused,afalse
              record orstatem entm aterialto afalseorgaudulentclaim ...isliableto the
              Urlited StatesGovernmentforany civilpenalty ofnotlessthan $5,000 and
              notmorethan $10,000 ...plus3tim esthenm ountofdnmageswhich the
               Governm entsustainsbecauseofthe actofthatperson.

31U.S.C.j3729.
       130. DefendantCent'
                         raknowingly m ade,used,orcaused to bem adeorused false

recordsorstatementsm aterialto afalse orfraudulentclaim to theUnited StatesGovernment

through the entitiesadm inistering governmentfundspuzsuantto GovernmentProgzam s,by

subm itting claim sstemming from forgedprovideragreem ents,andby furtherfailingto identify

and/orself-discloseidentifiedoverpaymentstothegovernmentwithin sixty(60)days,as
m andated by federalstatm e and agency nzles and regulations applicable to health care providers

thatreceivefundingfrom M edicare and M edicaid program s.




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       131. TheU nited Stateswasunaw are ofthe fraud and fraudulentschem esdetailed

herein and butforthis disclosure,w ould nothave discovered it,the m echanism sbeing used to

perpetrate and m ask the fraud,and thetrue breadth and scope ofthe fraud.

       132. The United Statesand the Governm entpayorswould nothavepaid the claim s if

they had lcnown thatrecords and statem entsassociated w ith the claim sw ere false because

com pliancew ith M edicare and M edicaid is a statutory condition ofpaym ent.

       133. As a resultofDefendant'sfraudulentcourse ofconduct,w ith actualknow ledge of

falsity and/orin deliberate ignorance orreckless disregard thatsuch records,statem ents,and

representationsw ere false,D efendantm ade,used,orcaused to be m ade orused,false records or

statem entsm aterialto a false orfraudulentclaim to the governm entforthe M edicare program

and M edicare m ade paym entsto Defendantand suffered dam ages.The United States

Governm entisentitled to f'ullrecovery ofthe am ountpaid by the Governm entProgram sforthe

false orfraudulentrecords orstatem entssubm itted by D efendant.

       134. A sstated in the preceding paragraphs,the United StatesTreasury,through

M edicare,M edicaid and otherfederalhealth care program s'paym ents ofthese claim s,has

suffered dam age in an am ountto be determ ined attrial,plus a civilpenalty perstatute foreach

such false record and/orstatem entm ade orused orcaused to be m ade orused by D efendant.

                                             CO UNT 3
                             False or FraudulentRetention orA voidance
                                          False Claim sA ct
                                      31U-s-c.jj3729(a)(1)(G)
               A11paragraphs ofthis Com plaintare realleged and expressly adopted and

incorporated as iffully setforth herein.

       136. As setforth above,Centra by and through itsagents,officers,and employees,

knowingly m ade,used,orcaused to bem ade orused,a falserecord orstatem entm aterialto an

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obligation to pay ortransm itm oney orproperty to the Governm ent,and lcnowingly concealed

and know ingly and improperly avoided ordecreased an obligation .
                                                                to pay ortransm itm oney or

propertytotheGovernment,inviolationoftheFalseClaimsAct,31U.S.C.j3729(a)(1)(G).
   137.        The term Eçobligation''m eans:

       an established duty,w hetherornotfixed,arising from an expressor
       im plied contractual,grantor-granteesorlicensor-licensee relationship,
       form a fee-based orsim ilarrelationship,from statute orregulation,or
       from the retention ofany overpaym ent...

31U.S.C.j3729(b)(3).
       138. Centra hasa duty and obligation to notify,reportand return any overpaym entsto

theSecretary,state,intermediary,carrierorcontractorasappropriatewithinsixty (60)daysof
identifying the overpaym entorthe date any corresponding costreportis due.

       139. D efendanthasactualknow ledge thatsignificantM edicaid and M edicare

overpaym entsexist.Instead ofreporting and returning overpaym ents,itknow ingly and '

intentionally concealed,orknow ingly and improperly avoided,an obligation to pay m oney to the

U nited States governm ent.

       140. Defendanthavelcnownoftheseoverpaymentsformorethansixty(60)daysand
no corresponding costreportisdue.

       141. By virtue ofD efendant's know ing refusalto repay ovelpaym entsto M edicare or

M edicaid,the U nited States hasbeen dam aged,and continuesto be dam aged,in a substantial

am ountto be proven attrial.

                                                CO U NT 4
                                                R etaliation
                               (FalseClaimsAct31U.S.C.j3730(h))
       142. Relator hereby restates,incorporates and re-alleges a11 other paragraphs of this

Complaintasiffully setforth herein.
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       143. Relator cam e to his position in the credentialing departm ent w ith a w ealth of

credentialing and auditknow ledge,experience and expertise.

       144. Relatorconsistently had perform ancereviews.

       145. However, as recounted above, alm ost im m ediately after Relator first raised his

concerns about Centra's forgeries and overpaym ent obligations both and voiced his tindings,

searching for rootcauses and identifying the grand scope ofthe problem ,his superiors began a

system atic effortto retaliate againsthim .

       146. Relatorengaged in protected conducton num erous occasions.

       147. Evenm ally,Centraterm inated Relator.

        148. Relator's term ination w as in retaliation for his continued protected activity to

identify and stop fraud in violation ofthe False Claim sAct.

       149. TheFalseClaimsAct,31U.S.C.j 3730 (h),prohibitsthedischarge,demotion,
suspension,threatening,harassm entorother discrim ination againstan employee because of any

law fulactdone by the em ployee on behalf ofthe em ployee or others in furtherance ofan action

underthe FCA .

        150. Relatorengaged in activity protected by the False Claim s A ctwhen he advocated

forCentra to take im m ediate and significantcorrective action to address the fraud he identified

both verbally and in w riting.

        151. Centra violated Relator'srightspursuantto 31U.S.C.j 37301)by retaliating
againsthim forlaw fulactsdone in furtherance ofeffortsto stop one orm oreviolationsalleged in

this action.

        152. Centra knew of Relator's protected activity,as he reported his findings to his

Superiors and to hum an resources.


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       153. As a result of Centra's actions,Relator has suffered dam ages in an am ountto be

show n attrial,including butnotlim ited to statutory dam ages,lossofpay,interest,attorney'
                                                                                         s fees,

frontpay,reinstatem ent,and m ake w hole dam ages.

                                        COU NT 5
                           Vireinia Fraud AeainstTaxnaversA ct

              A l1paragraphs ofthisCom plaintarerealleged and expressly adopted and

incop orated asiffully setforth herein.

       155. Thisis a claim broughtby Relatorand the Com m onw ea1th ofVirginia to recover

trebledam ages,civilpenaltiesand thefeesand costofthisaction,underthe V irginiaFraud

AgainstTaxpayersAct,Va.CodeAnn.58.01-216.1etseq.Section8.01-216.3providesliability
forany person who:

         1.Knowingly presents,or causesto be presented,a false orfraudulentclaim for
       paym entorapproval;

         2.Know ingly m akes,uses,orcausesto be m ade orused,a false record or
       statem entm aterialto a false orfraudulentclaim ;

         3.Conspiresto com m itaviolation ofsubdivision 1,2,4,5,6,or7;

         7.K now ingly m akej,uses,orcausesto be m ade orused,a false record or
       statem entm aterialto an obligation to pay ortransm itm oney orproperty to the
       Com m onw ealth orknow ingly conceals orknow ingly and im properly avoidsor
       decreases an obligation to pay ortransm itm oney orproperty to the
       Com m onwea1th;

       156. DefendantviolatedtheVirginiaFraudAgainstTae ayersAct58.01-216.1etseq.
by:(1)knowinglycausinghundredsofthousandsoffalseclaimstobemade,usedandpresented
totheState;(2)causingfalserecordsorstatementstogetafalseorfraudulentclaim paidor
approved by the State.

       157. DefendantCentra know ingly subm itted thousandsoffalse claim sto the

Com m onw ealth ofV irginiapredicated on forged provideragreem ents.

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       158. D efendantCentra also know ingly presented and/orcaused to be presented false or

fraudulentclaim sforpaym ent,failing to identify and/orself-disclose identified overpaym entsto

thegovernmentwithinsixty(60)days,asmandatedbyfederalstamteandagencyrulesand
regulationsapplicable to health care providersthatreceive funding from M edicare and M edicaid

ProgranAs.
       159. Com pliance w ith applicable M edicare,M edicaid and the variousotherfederaland

state law s cited herein w as an im plied and also an expresscondition ofpaym entofclaim s

subm itted to the Com m onw ea1th ofV irginia in connection with D efendant'sconduct.

       160. H ad the Com m onwealth ofV irginiaknown thatD efendantwasviolating the

Federaland state laws cited herein and/orthatthe claim s subm itted in connection with

D efendant'sconductfailed to m eetthe reim bursem entcriteria ofthe govem m ent-funded

healthcare program sorwereprem ised on false ancl/orm isleading inform ation,itw ould nothave

paid theclaim s caused to be subm itted by D efendant.

       161. A sa resultofDefendant'sviolationsoftheV irginia Fraud AgainstTax Payers

A ct,the Com m onw ealth ofVirginia hasbeen dam aged in an am ountfarin excessofm illions of

dollars,exclusive ofinterest.

       162. Relator isaprivate citizen with directand independentknowledge ofthe

allegationsofthisCom plaint,who hasbroughtthisaction pursuantto V irginia Fraud Against

TaxpayersA cton behalfofhim selfand the Com m onwea1th OfV irginia.

       163. ThisCourtisrequestedtoacceptpendantjurisdictionofthisrelatedstateclaim as
itispredicated upon the exactsam e facts asthe Federalclaim sand m erely assertsseparate

dam age to the Com m onw ealth ofV irginia in the operation ofitsM edicaid program .




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                                  PR AYER FOR RELIEF

       W HEREFOM ,Relatorrespectfully requests this Courtto award the follow ing dam ages

to thefollow ing partiesand againstD efendant:

To The United States:

       (1)     ThreetimestheamountofactualdamageswhichtheUnitedStateshassustainedas
       a resultofDefendant's conduct;

               A civilpenalty per statute for each false claim which D efendants caused to be

       presented to theU nited States;

       (3)     Prejudgmentinterest;and
               Al1costsincun-ed in bringing this action.

To the C om m onw ealth ofVirgiuia:

       (1)TllreetimestheamountofactualdamageswhichtheCommonwealthofVirginiahas
       sustained asa resultofDefendant's conduot;

       (2)A civilpenaltyperstatm eforeachfalseclaim whichDefendantscausedtobe
       presented to the Com m onw ea1th ofV irginia;

       (3)Prejudgmentinterest;and
       (4)Allcostsincurredinbringingthisaction.
To R elator:

       (1)Themaximum amountofrelator'sshareallowedpursuantto31U.S.C.j3730(d)of
          theFederalFalseClaimsAct,andVa.CodeAnn.j32.1-315,98.01-216.1etseq.,
          ancl/orany otherapplicableprovision oflaw ,and any alternate rem edy orthe

          settlem entofany such claim s;




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      (2)allowabledamages,interest,feesandcostsresultingfrom DefendantCentra's
         retaliation;

      (3)litigationcosts,expensesandreasonableattorney'
                                                      sfees;and
      (4)SuchfurtherreliefasthisCourtdeemsequitableandjust.

                                  JURY DE

      Pursuantto Rule 38 ofthe FederalRulesofCivilProcedure,Relatorhereby dem andstrial

byjuryfora11triableclaimsandissues.
D ated:M ay 30,2019

                                  By:
                                        /s/D avid Scher
                                                     -            -


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